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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NEW YORK
                               ROCHESTER DIVISION

Noah Nelson, individually and on behalf of all                      6:22-cv-06175
others similarly situated,
                                  Plaintiff,

                    - against -                                Class Action Complaint

Gskill USA, Inc.,
                                                                Jury Trial Demanded
                                  Defendant

       Plaintiff alleges upon information and belief, except for allegations pertaining to Plaintiff,

which are based on personal knowledge:


       1.     Gskill USA, Inc. (“Defendant”) manufactures, labels, markets, and sells RAM

products which provide high-speed computer memory, such as its Ripjaws V DDR4-3600 MHz,

to users who want to improve their computer’s performance in games or other uses (“Product”).

       2.     The representations of Defendant and third-parties acting on its behalf describe the

Product as having “Blazing Fast Transfer Speed,” which “lets you enjoy a faster computing

experience for gaming, video & image editing, rendering, and data processing.”




       3.     Memory speed refers to the speed of computers in terms of megahertz (“MHz”).

       4.     RAM with greater MHz will have faster memory and perform at higher levels.
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       5.     The Product can be plugged into the memory slots of a computer.

       6.     On Amazon.com and Newegg, versions of the RipJaws V are advertised with speeds

of “3600 MHz” and “4000 MHz.”




       7.     These representations are made by Defendant and at its directions, including in stores

and on websites of third-parties.

       8.     However, the Product cannot reach these speeds unless the computer’s firmware is

modified through “overclocking,” which theoretically optimizes the system’s performance.

       9.     Overclocking memory requires adjusting the computer’s Basic Input/Output System

(“BIOS”) or Unified Extensible Firmware Interface (“UEFI”) settings.

       10.    These settings control how a computer operates and can only be accessed through

specialized keyboard controls.



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        11.   The user must then locate settings for RAM frequency (its MHz speed), increase it

to the target speed, i.e., 4000 MHz, and change multiple memory “timing” settings, which interact

with the frequency settings.

        12.   The advertised speeds are not always reached, due to issues beyond the user’s control

or knowledge, such as the combination of other computer components, including the processors

and motherboard.

        13.   To operate RAM at higher speeds requires additional power, which can increase the

voltage settings.

        14.   The result is that stability of the system is compromised, causing crashes or glitches,

overheated system components, faster degradation of critical components, and damage to the

memory sticks themselves.

        15.   The marketing of the Product at the identified speeds is consistent across third-party

channels and in Defendant’s representations, in print, digital, audio and/or other formats.

        16.   Consumers purchasing the Product will expect the advertised speeds “out-of-the-

box.”

        17.   This expectation is reasonable because when consumers buy memory as part of a

computer purchase from a company like HP, Dell, or Apple, the memory will function at the

indicated speed.

        18.   Defendant failed to inform purchasers that the advertised speeds are not attainable

without the modifications described, which may result in the other issues identified.

        19.   Defendant markets its products with lifetime warranties, which consumers

understand to mean if there is an issue with a product they buy, Defendant will fix or replace it,

for the duration of the product’s use.




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       20.   However, Defendant fails to honor the lifetime warranties by not replacing or

repairing products which are non-functional.

       21.   Defendant makes other representations and omissions with respect to the Product

which are false and misleading.

       22.   Reasonable consumers must and do rely on a company to honestly and lawfully

market and describe the components, attributes, and features of a product, relative to itself and

other comparable products or alternatives.

       23.   The value of the Product that Plaintiff purchased was materially less than its value

as represented by Defendant.

       24.   Defendant sold more of the Product and at higher prices than it would have in the

absence of this misconduct, resulting in additional profits at the expense of consumers.

       25.   Had Plaintiff and proposed class members known the truth, they would not have

bought the Product or would have paid less for it.

       26.   As a result of the false and misleading representations, the Product is sold at a

premium price, approximately no less than no less than $129, excluding tax and sales, higher than

similar products, represented in a non-misleading way, and higher than it would be sold for absent

the misleading representations and omissions.

                                            Jurisdiction and Venue

       27.   Jurisdiction is proper pursuant to Class Action Fairness Act of 2005 (“CAFA”). 28

U.S.C. § 1332(d)(2).

       28.   The aggregate amount in controversy exceeds $5 million, including any statutory

damages, exclusive of interest and costs.

       29.   Plaintiff Noah Nelson is a citizen of New York.




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       30.    Defendant Gskill USA, Inc. is a California corporation with a principal place of

business in Walnut, Los Angeles County, California.

       31.    The class of persons Plaintiff seeks to represent includes persons who are citizens of

different states from which Defendant is a citizen

       32.    The members of the class Plaintiff seeks to represent are more than 100, because the

Product has been sold for several years, with the representations described here, in thousands of

locations, in the states covered by Plaintiff’s proposed classes.

       33.    The Product is available to consumers from third-parties, which includes stores and

websites that sell computer parts and accessories.

       34.    Venue is in the Rochester Division in this District because a substantial part of the

events or omissions giving rise to these claims occurred in Monroe County, including Plaintiff’s

purchase, consumption, and/or use of the Product and awareness and/or experiences of and with

the issues described here.

                                               Parties

       35.    Plaintiff Noah Nelson is a citizen of Rochester, Monroe, New York.

       36.    Defendant Gskill USA, Inc. is a California corporation with a principal place of

business in Walnut, California, Los Angeles County.

       37.    Defendant is a subsidiary of G.Skill International Enterprise Co., Ltd. (“G.Skill

International”), a Taiwanese computer hardware manufacturing company.

       38.    G.Skill International specializes in high-end PC products and is best known for its

DRAM products.

       39.    Consumers trust the G.Skill brand, because of its expertise and demonstrated record

of quality, innovation and reliability.




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       40.    Consumers trust G.Skill to be honest with them, because it has built up a reservoir of

good will based on its practices and history.

       41.    The Product is available to consumers from third-parties, which includes stores and

websites that sell computer parts and accessories.

       42.    Plaintiff purchased the Product on one or more occasions within the statutes of

limitations for each cause of action alleged,              at stores including Micro Center,

www.microcenter.com, between April 3, 2020, and April 3, 2021, and/or among other times.

       43.    Plaintiff believed and expected the Product reached the speeds indicated, without

other modifications, and without the risk of system failure or instability because that is what the

representations and omissions said and implied.

       44.    Plaintiff relied on the words, terms coloring, descriptions, layout, placement,

packaging, tags, and/or images on the Product, on the labeling, statements, omissions, claims,

statements, and instructions, made by Defendant or at its directions, in digital, print and/or social

media, which accompanied the Product and separately, through in-store, digital, audio, and print

marketing.

       45.    Plaintiff bought the Product at or exceeding the above-referenced price.

       46.    Plaintiff would not have purchased the Product if he knew the representations and

omissions were false and misleading or would have paid less for it.

       47.    Plaintiff chose between Defendant’s Product and products represented similarly, but

which did not misrepresent their attributes, requirements, instructions, features, and/or

components.

       48.    The Product was worth less than what Plaintiff paid and he would not have paid as

much absent Defendant's false and misleading statements and omissions.




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       49.     Plaintiff intends to, seeks to, and will purchase the Product again when he can do so

with the assurance the Product's representations are consistent with its abilities, attributes, and/or

composition.

       50.     Plaintiff is unable to rely on the labeling and representations not only of this Product,

but other similar RAM products which provide high-speed computer memory, because he is unsure

whether those representations are truthful.

                                           Class Allegations

       51.     Plaintiff seeks certification under Fed. R. Civ. P. 23 of the following classes:

                        New York Class: All persons in the State of New
                        York who purchased the Product during the statutes
                        of limitations for each cause of action alleged; and

                        Consumer Fraud Multi-State Class: All persons in
                        the States of Arkansas, Iowa, Wyoming, Texas,
                        Nebraska, South Dakota, West Virginia, Utah, Idaho,
                        Alaska, and Montana who purchased the Product
                        during the statutes of limitations for each cause of
                        action alleged.

       52.     Common questions of issues, law, and fact predominate and include whether

Defendant’s representations were and are misleading and if Plaintiff and class members are entitled

to damages.

       53.     Plaintiff's claims and basis for relief are typical to other members because all were

subjected to the same unfair, misleading, and deceptive representations, omissions, and actions.

       54.     Plaintiff is an adequate representative because his interests do not conflict with other

members.

       55.     No individual inquiry is necessary since the focus is only on Defendant’s practices

and the class is definable and ascertainable.

       56.     Individual actions would risk inconsistent results, be repetitive and are impractical



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to justify, as the claims are modest relative to the scope of the harm.

        57.    Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to protect class members’ interests adequately and fairly.

        58.    Plaintiff seeks class-wide injunctive relief because the practices continue.

                     New York General Business Law (“GBL”) §§ 349 & 350

                                   (Consumer Protection Statute)

        59.    Plaintiff incorporates by reference all preceding paragraphs.

        60.    Plaintiff believed the Product reached the speeds indicated, without other

modifications, and without the risk of system failure or instability.

        61.    Defendant’s false, misleading and deceptive representations and omissions are

material in that they are likely to influence consumer purchasing decisions.

        62.    Defendant misrepresented the Product through statements, omissions, ambiguities,

half-truths and/or actions.

        63.    Plaintiff relied on the representations and omissions to believe the Product reached

the speeds indicated, without other modifications, and without the risk of system failure or

instability.

        64.    Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                               Violation of State Consumer Fraud Acts

                       (On Behalf of the Consumer Fraud Multi-State Class)


        65.    The Consumer Fraud Acts of the States in the Consumer Fraud Multi-State Class are

similar to the consumer protection statute invoked by Plaintiff and prohibit the use of unfair or

deceptive business practices in the conduct of commerce.



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       66.    The members of the Consumer Fraud Multi-State Class reserve their rights to assert

their consumer protection claims under the Consumer Fraud Acts of the States they represent

and/or the consumer protection statute invoked by Plaintiff.

       67.    Defendant intended that members of the Consumer Fraud Multi-State Class would

rely upon its deceptive conduct.

       68.    As a result of Defendant’s use of artifice, and unfair or deceptive acts or business

practices, the members of the Consumer Fraud Multi-State Class sustained damages.

       69.    Defendant’s conduct showed motive and a reckless disregard of the truth such that

an award of punitive damages is appropriate.

                                    Breaches of Express Warranty,
                Implied Warranty of Merchantability/Fitness for a Particular Purpose and
                       Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       70.    The Product was manufactured, identified, marketed and sold by Defendant and

expressly and impliedly warranted to Plaintiff and class members that it reached the speeds

indicated, without other modifications, and without the risk of system failure or instability.

       71.    Defendant directly marketed the Product to Plaintiff and consumers through its

advertisements and marketing, through various forms of media, on the packaging, in print

circulars, direct mail, product descriptions distributed to resellers, and targeted digital advertising.

       72.    Defendant knew the product attributes that potential customers like Plaintiff were

seeking and developed its marketing and labeling to directly meet those needs and desires.

       73.    Defendant’s representations about the Product were conveyed in writing and

promised it would be defect-free, and Plaintiff understood this meant that it reached the speeds

indicated, without other modifications, and without the risk of system failure or instability.

       74.    Defendant’s representations affirmed and promised that the Product reached the

speeds indicated, without other modifications, and without the risk of system failure or instability.


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        75.    Defendant described the Product so Plaintiff and consumers believed it reached the

speeds indicated, without other modifications, and without the risk of system failure or instability,

which became part of the basis of the bargain that it would conform to its affirmations and

promises.

        76.    Defendant had a duty to disclose and/or provide non-deceptive descriptions and

marketing of the Product.

        77.    This duty is based on Defendant’s outsized role in the market for this type of Product,

a trusted brand known for the highest quality products.

        78.    Plaintiff recently became aware of Defendant’s breach of the Product’s warranties.

        79.    Plaintiff provided or will provide notice to Defendant, its agents, representatives,

retailers, and their employees.

        80.    Plaintiff hereby provides notice to Defendant that it breached the express and implied

warranties associated with the Product.

        81.    Defendant received notice and should have been aware of these issues due to

complaints by third-parties, including regulators, competitors, and consumers, to its main offices,

and by consumers through online forums.

        82.    The Product did not conform to its affirmations of fact and promises due to

Defendant’s actions.

        83.    The Product was not merchantable because it was not fit to pass in the trade as

advertised, not fit for the ordinary purpose for which it was intended and did not conform to the

promises or affirmations of fact made on the packaging, container or label, because it was marketed

as if it reached the speeds indicated, without other modifications, and without the risk of system

failure or instability.




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       84.    The Product was not merchantable because Defendant had reason to know the

particular purpose for which the Product was bought by Plaintiff, because he expected it reached

the speeds indicated, without other modifications, and without the risk of system failure or

instability, and he relied on Defendant’s skill and judgment to select or furnish such a suitable

product.

       85.    Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                       Negligent Misrepresentation

       86.    Defendant had a duty to truthfully represent the Product, which it breached.

       87.    This duty was non-delegable, and based on Defendant’s position, holding itself out

as having special knowledge and experience in this area, a trusted brand known for the highest

quality products.

       88.    Defendant’s representations and omissions regarding the Product went beyond the

specific representations on the packaging, as they incorporated the extra-labeling promises and

commitments to quality, transparency and putting customers first, that it has been known for.

       89.    These promises were outside of the standard representations that other companies

may make in a standard arms-length, retail context.

       90.    The representations took advantage of consumers’ cognitive shortcuts made at the

point-of-sale and their trust in Defendant.

       91.    Plaintiff and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, their purchase of the

Product.

       92.    Plaintiff and class members would not have purchased the Product or paid as much




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if the true facts had been known, suffering damages.

                                                Fraud

        93.    Defendant misrepresented and/or omitted the attributes and qualities of the Product,

that it reached the speeds indicated, without other modifications, and without the risk of system

failure or instability.

        94.    Moreover, the records Defendant is required to maintain, and/or the information

inconspicuously disclosed to consumers, provided it with actual and constructive knowledge of

the falsity and deception, through statements and omissions.

        95.    Defendant knew of the issues described here yet did not address them.

        96.    Defendant’s fraudulent intent is evinced by its knowledge that the Product was not

consistent with its representations.

                                         Unjust Enrichment

        97.    Defendant obtained benefits and monies because the Product was not as represented

and expected, to the detriment and impoverishment of Plaintiff and class members, who seek

restitution and disgorgement of inequitably obtained profits.

                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

     WHEREFORE, Plaintiff prays for judgment:

    1. Declaring this a proper class action, certifying Plaintiff as representative and the

        undersigned as counsel for the class;

    2. Entering preliminary and permanent injunctive relief by directing Defendant to correct the

        challenged practices to comply with the law;

    3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

        representations, and restitution and disgorgement for members of the class pursuant to the


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      applicable laws;

   4. Awarding monetary damages, statutory and/or punitive damages pursuant to any statutory

      claims and interest pursuant to the common law and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for Plaintiff's attorneys and

      experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: April 17, 2022
                                                      Respectfully submitted,

                                                      /s/Spencer Sheehan
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